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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

NORMA DAIGLE                    *     CIVIL ACTION No.:
    Plaintiff                   *
                                *     DIVISION:
VERSUS                          *
                                *     JUDGE:
FAMILY DOLLAR STORES OF         *
LOUISIANA, INC., JANE DOE,      *    MAGISTRATE:
MANAGER AND XYZ INSURANCE CO.*
     Defendants                 *
                                *
****************************************************
                        PETITION FOR REMOVAL

       Defendants, Family Dollar Stores of Louisiana, Inc. and Cheryl Starks, file this Petition for

Removal pursuant to 28 U.S.C. §1332 and §1441, and hereby removes this matter from the 34th

Judicial District Court for the Parish of St. Bernard, State of Louisiana, to the docket of this

Honorable Court on the grounds set forth below:

       1)     Plaintiff, Norma Daigle, a Louisiana citizen, filed her Petition for Damages on

              November 4, 2017, against Family Dollar Stores of Louisiana, Inc., which is a

              Delaware corporation with its principal place of business in Matthews, North

              Carolina. (See Plaintiff’s Petition for Damages, which is attached hereto and

              included as Exhibit “A”).

       2)     Plaintiff, Norma Daigle, filed a First Supplemental and Amending Petition for

              Damages on May 24, 2018, replacing “Jane Doe” with “Cheryl Starks” as the alleged

              manager of the subject Family Dollar Stores of Louisiana, Inc. location. (See

              Plaintiff’s First Supplemental and Amending Petition which is attached hereto and

              included as Exhibit “B”).

       3)     Defendant, Family Dollar Stores of Louisiana, Inc., was served through its registered
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     agent for service of process, CT Corporation System, with a copy of the Citation and

     Petition on December 7, 2017. The defendant, Cheryl Starks, was served by personal

     service on June 1, 2018 (See service of Process Notices and Citations attached hereto

     in globo and marked for identification as Exhibit "C").

4)   Defendant, Cheryl Starks, an employee of Family Dollar Stores of Louisiana, Inc.,

     would have no personal liability for plaintiff’s alleged accident, and has been

     fraudulently joined to defeat diversity jurisdiction.

5)   The suit seeks damages from Family Dollar Stores of Louisiana, Inc. and Cheryl

     Starks for personal injuries allegedly sustained by plaintiff, as a result of an incident

     that occurred at the Family Dollar Store located at 4132 E. Judge Perez, Meraux,

     Louisiana 70075 on June 30, 2017.

6)   Plaintiff’s Petition for Damages is silent as to the amount in controversy, except to

     state in the prayer of the Petition for Damages that the petitioner “requests a trial by

     jury.”

I.   REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
     JURISDICTION PURSUANT TO 28 U.S.C. § 1332.

7)   28 U.S.C. § 1332 provides federal district court with concurrent original jurisdiction

     in cases “where the matter in controversy exceeds the sum of or value of $75,000.00,

     exclusive of interest and costs, and is between, - (1) citizens of different States.”

     A.       THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00.

8)   The Fifth Circuit has explained that for purposes of establishing removal jurisdiction,

     a defendant may demonstrate that the amount in controversy exceeds $75,000.00, “in

     either of two ways: (1) by demonstrating that it is ‘facially apparent’ from the

     petition that the claim likely exceeds $75,000.00, or (2) ‘by setting forth the facts in
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      controversy-preferably in the removal petition, but sometimes by affidavit-that

      support a finding of the requisite amount.’” Grant v. Chevron Phillips Chemical, Co.,

      309 F.3d 864, 868 (5th Cir. 2002) (emphasis in original) (quoting Allen v. R &H Oil

      & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995)).

9)    On May 29, 2018, undersigned counsel for defendants received electronic mail

      correspondence from counsel for plaintiff, Norma Daigle, informing of the status of

      Norma Daigle’s medical treatment, “[s]he had the first of two Lumbar ESI

      procedures done on April 22nd. A second ESI is scheduled on May 31. Thereafter, he

      [Dr. Dominic Greishaber] plans on scheduling a nerve burning (Ablation)

      procedure...” The quantum value for general damages associated with similar

      medical treatment is in excess of $75,000.00. See Parker v. Delta Well Surveyors,

      Inc., 791 So.2d 717 (La. App. 4 Cir. 2001) and cases cited therein ($300,000.00

      general damage award affirmed for lumbar and cervical neurotomies). Further, this

      Removal Petition is timely as it is filed within thirty (30) days of receipt of papers

      establishing the existence of diversity jurisdiction. (Please see correspondence from

      Michael Ginart, Esq. attached hereto as Exhibit “D”).

      B.     COMPLETE DIVERSITY

10)   Defendant, Family Dollar Stores of Louisiana, Inc., is a Delaware corporation with

      its principal place of business in Matthews, North Carolina.

11)   Plaintiff, Norma Daigle, is a resident of and domiciled in St. Bernard Parish, State

      of Louisiana.

12)   Defendant, Cheryl Starks, is an employee of Family Dollar Stores of Louisiana, Inc.,

      and domiciled in St. Bernard Parish, State of Louisiana. However, Ms. Starks has no
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      personal liability for plaintiff's alleged accident, and she has been fraudulently joined

      to defeat diversity jurisdiction. The standard for judging fraudulent joinder claims

      is clearly established in this circuit - after all disputed questions of fact and all

      ambiguities in the controlling state law are resolved in favor of the non-removing

      party, the court determines whether that party has any possibility of recovery against

      the party whose joinder is questioned. Carriere v. Sears, Roebuck & Co., 893 F.2d

      98, 100-01 (5th Cir. 1990). Plaintiff has made no allegation that Cheryl Starks was

      a custodian of property who could be personally at fault under Civil Code Article

      2317. Instead, plaintiff merely claims that Cheryl Starks was employed by defendant

      and possibly caused plaintiff injuries. These allegations are insufficient to establish

      Cheryl Starks’ control or custody. See Patterson v. Radiator Specialty Co., No.

      10-2007, 2012 WL 1565286, at *2 (E.D.La. May 2, 2012) ("Plaintiff has cited no

      case and the Court is unaware of one that finds executive officers having the

      requisite control to state a cause of action against them under art. 2317."); Cologne

      v. Shell Oil Co., No. 12-7345, 2013 WL 5781705, at *5-6 (E.D.La. Oct. 25, 2013)

      ("It is implausible to think that two employees ..., who did not hold a formal

      executive office, maintained enough direction and control over company-owned

      equipment" to owe a duty to the injured third party under article 2317.); Janko v.

      Fresh Mkt., Inc., No. CIV.A. 13-648-SDD, 2014 WL 2949306, at *5 (M.D. La. June

      27, 2014).

13)   Accordingly, there is complete diversity of citizenship between the plaintiff and the

      defendants.

14)   This is a civil action over which the United States District Court for the Eastern
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      District of Louisiana has concurrent original jurisdiction under the provisions of 28

      U.S.C. § 1332, et. seq., as the amount in controversy, evidenced by electronic mail

      correspondence from counsel for Norma Daigle, exceeds SEVENTY-FIVE

      THOUSAND AND NO/100 DOLLARS ($75,000.00), exclusive of interest and

      costs, and complete diversity exists between all adverse parties.

II.   FAMILY DOLLAR STORES OF LOUISIANA, INC. AND CHERYL STARKS
      HAVE SATISFIED THE PROCEDURAL REQUIREMENTS FOR
      REMOVAL

15)   Defendant, Family Dollar Stores of Louisiana, Inc., was served through its registered

      agent for service of process, CT Corporation System, with a copy of the Citation and

      Petition on December 7, 2017. Defendant, Cheryl Starks, was served by personal

      service on June 1, 2018. (See service of Process Notice and Citation attached hereto

      in globo and marked for identification as Exhibit “C”).

16)   Plaintiff’s Petition for Damages is silent as to the value of plaintiff’s damages and/or

      the amount in controversy.

17)   Plaintiff’s Petition for Damages does not offer a binding stipulation that plaintiff will

      not seek to enforce any judgment that may be awarded in excess of $75,000.00, as

      would be required pursuant to Davis v. State Farm, No. 06-560, slip op. (E.D. La.

      June 7, 2006. (See Exhibit “A”).

18)   On May 29, 2018, undersigned counsel for defendants received electronic mail

      correspondence from counsel for plaintiff, Norma Daigle, informing of the status of

      Norma Daigle’s medical treatment, “[s]he had the first of two Lumbar ESI

      procedures done on April 22nd. A second ESI is scheduled on May 31. Thereafter, he

      [Dr. Dominic Greishaber] plans on scheduling a nerve burning (Ablation)
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      procedure...” The quantum value for general damages associated with similar

      medical treatment is in excess of $75,000.00. See Parker v. Delta Well Surveyors,

      Inc., 791 So.2d 717 (La. App. 4 Cir. 2001) and cases cited therein ($300,000.00

      general damage award affirmed for lumbar and cervical neurotomies). Further, this

      Removal Petition is timely as it is filed within thirty (30) days of receipt of papers

      establishing the existence of diversity jurisdiction. (Please see correspondence from

      Michael Ginart, Esq. attached hereto as Exhibit “D”).

19)   Jurisdiction is founded in the existence of diversity jurisdiction under 28 U.S.C.§

      1332, which grants federal courts concurrent jurisdiction over claims where the

      matter in controversy exceeds the sum or value of SEVENTY-FIVE THOUSAND

      AND NO/100 DOLLARS (75,000.00), exclusive of interest and costs, and is

      between citizens of different States.

20)   The 34th Judicial District Court for the Parish of St. Bernard, State of Louisiana, is

      located within the Eastern District of Louisiana pursuant to 28 U.S.C. § 1441(a)

      because it is the “district and division embracing the place where such action is

      pending.”

21)   No previous application has been made by defendants, Family Dollar Stores of

      Louisiana, Inc. and Cheryl Starks, in this case for the relief requested herein.

22)   Pursuant to 28 U.S.C.§ 1446(a), a certified copy of the 34th Judicial District Court’s

      record is attached hereto as Exhibit E.

23)   Pursuant to 28 U.S.C.§ 1446(a), a copy of this Petition for Removal is being served

      upon counsel for plaintiff, and a Notice of Removal is being forwarded to be filed

      with the Clerk of Court for the 34th Judicial District Court for the Parish of St.
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               Bernard, State of Louisiana, and sent to the counsel for plaintiff.

       24)     Defendants, Family Dollar Stores of Louisiana, Inc. and Cheryl Starks, desire and

               are entitled to a trial by jury of all issues.

       WHEREFORE, defendants, Family Dollar Stores of Louisiana, Inc. and Cheryl Starks,

hereby remove this action from the 34th Judicial District Court for the Parish of St. Bernard, State

of Louisiana, to the docket of the United States District Court for the Eastern District of Louisiana.


                                                Respectfully submitted,

                                                THE TRUITT LAW FIRM
                                                A Limited Liability Company

                                                     s//Jack E. Truitt
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                                                Cheryl Starks


                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been duly served on all counsel of

record by depositing same into the U.S. Mail, postage pre-paid, and/or by hand and/or by facsimile

and/or by electronic means on June 28, 2018.


                                               s//Jack E. Truitt
